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Florida Board of Bar Examiners

ADMINISTRATIVE BOARD OF THE SUPREME COURT OF FLORIDA

 

 

Michele A. Gavagni

. A : 1891 Eider Cour, Tallahassee, Florida 32399-1750 Phone: 850 487-1292 Fax: 850 414-6822 www. floridabarexam.org
Executive Director

December 5, 2016

Mr. Julius Ronald Hobbs Jr.

File Number: B60140
File Date; 10/05/2016

_ The Fiorida Board of Bar Examiners anticipates processing your Bar Application as quickly as possible. The Ruies
of the Supreme Court Relating to Admissions to the Bar, amendment forms, change of address forms, and other
supporting forms are on the website listed above.

Applicants have a continuing obligation to keep each and every question on the Bar Application current, complete
and correct by filing timely amendments until the date of admission to The Florida Bar. Amendments must be
sworn and notarized and are considered timely when made within 30 days of any occurrence that would change
any response made to an application question.

Qutstanding Request(s) for Information and/or Documentation
The following amendment(s) or document(s) are required from you for the board's investigation:
O Regarding your divorce in October 2005 reported by you, provide the requested documents or information or a
letter from the clerk of court stating the documents are not available:
Petition
Answer
Agreement
Judgment

O. Regarding your addiction/dependence reported by you, provide the requested information:
Sobriety date
Current support system

O Please provide a more detailed explanation of the events leading to your October 2006 DU! and Open
Container arrest.

O Please provide the name and address of the organization that facilitated your DUI reduction course.

The deadline to comply with all requests of this letter is 03/05/2017 under rule 3-14.6(b).

Florida Bar Examination Status

The board encourages students who file registrations to convert their registrations early in the final year of law
school so that an updated character and fitness investigation may be completed before bar examination scores
are released. Information on applying for the General Bar Examination, the MPRE, and converting a student

registration into an application may be found on the board's website above.

Sincerely yours,

Michele A. Gavagni
Executive Director

MAG:MNW EXHIBIT

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